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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MICHELLE QUIGLEY                             :
                                             :
       v.                                    :      CIVIL ACTION NO. 18-485
                                             :
IRON MOUNTAIN, INC.                          :

                                           ORDER


       This 18th     day of   March , 2019, it having been reported that the above captioned

action has been settled and upon Order of the Court pursuant to the provisions of Rule 41.1(b) of

the Local Rules of Civil Procedure of this Court, it is ORDERED that the above captioned

action is DISMISSED with prejudice, pursuant to agreement of counsel without costs.



                                                 KATE BARKMAN, Clerk of Court


                                                 BY:   ____/s/ Patricia Clark
                                                       Civil Deputy to Judge McHugh




Copies EMAILED on 3/18/19 to:

cc: Graham F. Baird, Esquire
    John M. Nolan, III, Esquire
    Marjorie Kaye, Esquire
